               Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 1 of 25




 1   John C. Fowler (SBN 235376)
     FOWLER | HELSEL | VOGT
 2   67 Main Street
     Sutter Creek, CA 95685
 3   Tel.: (209) 267-8181
     Fax: (209) 560-6137
 4   E-mail: john@fhvlaw.com
 5   Attorneys for Plaintiff
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   MARY MOORE, an individual,           ) Case No.:
12                                        )
            Plaintiff,                    ) COMPLAINT FOR DAMAGES AND
13                                        ) DEMAND FOR JURY TRIAL FOR:
            vs.                           )
14                                        )    1. Negligence
     PHILIPS NORTH AMERICA LLC; PHILIPS )      2. Products Liability: Design Defect
15   RS NORTH AMERICA LLC;                )    3. Products Liability: Manufacturing;
     KONINKLIJKE PHILIPS N.V.; and DOES 1 )    4. Product Liability: Failure to Warn;
16   through 10;                          )    5. Breach of Express Warranty;
                                          )    6. Breach of Implied Warranty of
17          Defendants.                   )       Merchantability;
                                          )    7. Fraudulent Misrepresentation;
18                                        )    8. Fraud by Omission; and
                                          )    9. Negligent Misrepresentation.
19                                        )
                                          )
20                                        )
                                          )
21
22          Plaintiff MARY MOORE (“Plaintiff”), hereby complains and alleges against Defendants

23   Koninklijke Philips N.V. (“Royal Philips”), Philips North America LLC (“Philips N.A.”), and

24   Philips RS North America LLC (“Philips RS”), and DOES 1 through 10, based on (A) personal

25   knowledge, (b) the investigation of counsel, and (c) information and belief, as follows:

26   ///

27   ///

28   ///



                                                      1
                                Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 2 of 25




 1                                                     I.
 2                                           INTRODUCTION
 3          1.      Plaintiff brings this action for injuries caused by the use of the Trillium 100 device
 4   designed, manufactured, and/or sold, by Defendants, and each of them, which contain polyester
 5   based polyurethane sound abatement foam (“PE-PUR Foam”).
 6          2.       On April 26, 2021, Philips made a public announcement disclosing it had
 7   determined there were risks that the PE-PUR Foam used in certain CPAP, Bi-Level PAP, and
 8   mechanical ventilator devices it manufactured may degrade or off-gas under certain circumstances.
 9          3.      On June 14, 2021, Royal Philips issued a recall in the United States of its CPAP,
10   Bi-Level PAP, and mechanical ventilator devices containing PE-PUR Foam, because Philips had
11   determined that: (a) the PE-PUR Foam was at risk for degradation into particles that may enter the
12   devices’ pathway and be ingested or inhaled by users, and (b) the PE-PUR Foam may off-gas
13   certain chemicals during operation. Philips further disclosed in its Recall Notice that, “these issues
14   can result in serious injury which can be life-threatening, cause permanent impairment, and/or
15   require medical intervention to preclude permanent impairment.”
16          4.      Philips has disclosed that the absence of visible particles in the devices does not
17   mean that PE-PUR Foam breakdown has not already begun. Philips reported that lab analysis of
18   the degraded foam reveals the presence of harmful chemicals, including Toluene Diamine
19   (“TDA”), Toluene Diisocyanate (“TDI”), and Diethylene Glycol (“DEG”).
20          5.      Prior to issuing the Recall Notice, Philips received complaints regarding the
21   presence of black debris/particles within the airpath circuit of its devices (extending from the
22   device outlet, humidifier, tubing, and mask). Philips also received reports of headaches, upper
23   airway irritation, cough, chest pressure and sinus infection from users of these devices.
24          6.      In its Recall Notice, Philips disclosed that the potential risks of particulate exposure
25   to users of these devices include irritation (skin, eye, and respiratory tract), inflammatory response,
26   headache, asthma, adverse effects to other organs (e.g., kidneys and liver) and toxic carcinogenic
27   effects. The potential risks of chemical exposure due to off-gassing of PE-PUR Foam in these
28



                                                       2
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 3 of 25




 1   devices include headache/dizziness, irritation (eyes, nose, respiratory tract, skin), hypersensitivity,
 2   nausea/vomiting, toxic and carcinogenic effects.
 3          7.      Philips recommended that patients using the recalled CPAP and Bi-Level PAP
 4   devices immediately discontinue using their devices and that patients using the recalled ventilators
 5   for life-sustaining therapy consult with their physicians regarding alternative ventilator options.
 6          8.      In or around May 2017, Plaintiff MARY MOORE purchased a Philips Trilogy 100
 7   Ventilator device, which she used regularly from the date of purchase until she received Philips
 8   recall notice in or about June 2021.
 9          9.      After she began using the Philips Trilogy 100 Ventilator, Plaintiff began to
10   experience chronic sinusitis and was diagnosed with chronic sinusitis and squamous cell
11   carcinoma, requiring multiple surgical interventions. Plaintiff has also partially lost vision in her
12   right eye as a result of the carcinoma and must undergo chemotherapy.
13          10.     Further, Plaintiff has been prescribed medications and anticipates needing
14   significant, continuing medical care and treatment into the foreseeable future.
15          11.     Plaintiff has incurred substantial expenses for medical care and is unable to
16   continue to use the Trilogy 100 device due to continuing concerns for her health and wellbeing. In
17   addition, Plaintiff has and continues to experience congestion, runny nose, nasal discomfort, dry
18   mouth, and constant sore throat during use of the Philips’ recalled machine. Since being notified
19   of the recall, Plaintiff has experienced anxiety concerning the health risks she is facing from
20   possible exposure to off-gassed or degraded PE-PUR Foam in the Recalled machines, including
21   the machine used by Plaintiff.
22          12.     Plaintiff seeks to recover damages based on, inter alia, Defendants’ breach of
23   express warranty, breach of implied warranties, misrepresentations, omissions, and breaches of
24   state consumer protection laws in connection with its manufacture, marketing and sales of devices
25   containing PE-PUR Foam.
26                                                     II.
27                                                PARTIES
28          13.     Plaintiff MARY MOORE is a citizen of the State of California.



                                                       3
                                 Complaint for Damages and Demand for Jury Trial
                Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 4 of 25




 1           14.         Defendant Royal Philips is a Dutch multinational corporation with its principal
 2   place of business located in Amsterdam, Netherlands. Royal Philips is the parent company of the
 3   Philips Group of healthcare technology businesses, including Connected Care businesses focusing
 4   on Sleep & Respiratory Care. Royal Philips holds directly or indirectly 100% of its subsidiaries
 5   Philips NA and Philips RS. Upon information and belief, Royal Philips controls Philips NA and
 6   Philips RS in the manufacturing, selling, distributing, and supplying of the recalled CPAP, Bi-
 7   Level PAP, and mechanical ventilator devices.
 8           15.         Defendant Philips NA is a Delaware corporation with its principal place of business
 9   located at 222 Jacobs Street, Floor 3, Cambridge, Massachusetts 02141. Philips NA is a wholly
10   owned subsidiary of Royal Philips.
11           16.         Defendant Philips RS is a Delaware corporation with its principal place of business
12   located at 6501 Living Place, Pittsburgh, Pennsylvania 15206. Philips RS is a wholly owned
13   subsidiary of Royal Philips. Philips RS was formerly operated under the business name
14   Respironics, Inc. (“Respironics”). Royal Philips acquired Respironics in 2008.
15           17.         Defendants Royal Philips, Philips NA, and Philips RS are collectively referred to
16   herein as “Philips” or “Defendants.”
17                                                        III.
18                                        JURISDICTION AND VENUE
19           18.         Jurisdiction of this Court is based on Diversity of Citizenship and the amount in
20   controversy is well in excess of the jurisdictional limit of $75,000.00. 28 U.S.C. § 1332(a)(1)-(3).
21           19.         Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b) and (c) and
22   18 U.S.C. § 1965, because Defendants transact business in this District, a substantial part of the
23   events or omissions giving rise to Plaintiff’s claims occurred in this District and Plaintiff resides
24   in this District.
25           20.         The Court has personal jurisdiction over Defendants because Defendants conduct
26   substantial business in this District, and the events giving rise to Plaintiff’s claims arise out of and
27   relate to Defendants’ contacts with this District. Defendants Philips RS and Philips NA are
28   controlled by their parent Royal Philips. Defendants’ affiliations with this District are so



                                                           4
                                     Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 5 of 25




 1   continuous and systematic as to render them essentially at home in the forum State. Further,
 2   Defendants have transacted business, maintained substantial contacts, purposefully targeted
 3   consumers and medical professionals for sales of its devices and/or committed overt acts in
 4   furtherance of the unlawful acts alleged in this Complaint in this District, as well as throughout
 5   the United States. The unlawful acts of Defendants have been directed at, targeted, and have had
 6   the effect of causing injury to persons residing in, located in, or doing business in this District, as
 7   well as throughout the United States.
 8                                                      IV.
 9                                       FACTUAL BACKGROUND
10          A.      Continuous Positive Airway Pressure Therapy
11          21.      Continuous Positive Airway Pressure (“CPAP”) therapy is a common nonsurgical
12   treatment primarily used to treat sleep apnea. CPAP therapy typically involves the use of a hose
13   and a nasal or facemask device that delivers constant and steady air pressure to an individual’s
14   throat to help individuals breathe.
15          22.     Sleep apnea is a common sleep disorder characterized by repeated interruptions in
16   breathing throughout an individual’s sleep cycle. These interruptions, called “apneas,” are caused
17   when the soft tissue in an individual’s airway collapses. The airway collapse prevents oxygen from
18   reaching the individual’s lungs which can cause a buildup of carbon dioxide. If the individual’s
19   brain senses the buildup of carbon dioxide, it will briefly rouse the individual from sleep so that
20   the individual’s airway can reopen. Often these interruptions are so brief that the individual will
21   not remember. Despite the brevity of the interruptions, the sleep cycle disruption caused by sleep
22   apnea can dramatically impact a person’s lifestyle, including negatively impacting energy, mental
23   performance, and long-term health. CPAP therapy helps treat sleep apnea by preventing the
24   person’s airway from collapsing while breathing during sleep cycles, which can help prevent
25   interruptions in breathing.
26          B.      Bi-Level Positive Airway Pressure Therapy.
27          23.     Bi-Level Positive Airway Pressure (“BiPAP”) therapy is a common alternative to
28   CPAP therapy for treating sleep apnea. Similar to CPAP therapy, BiPAP therapy is nonsurgical



                                                         5
                                   Complaint for Damages and Demand for Jury Trial
                    Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 6 of 25




 1   and involves the use of a nasal or facemask device to maintain air pressure in an individual’s
 2   airway. BiPAP therapy is distinguishable from CPAP therapy, however, because Bi-Level PAP
 3   devices deliver two alternating levels—inspiratory and expiratory—of pressurized air into a
 4   person’s airway, rather than the single continuous level of pressurized air delivered by a CPAP
 5   device. The inspiratory positive airway pressure assists a person as a breath is taken in. Conversely,
 6   the expiratory positive airway pressure is applied to allow a person to comfortably breathe out. Bi-
 7   Level PAP devices deliver one level of pressurized air (the inspiratory positive level) to assist as
 8   a person inhales, and another level (the expiratory level) as a person exhales.
 9             C.      Mechanical Ventilation
10             24.     Mechanical ventilation is a treatment to help a person breathe when they find it
11   difficult or are unable to breathe on their own. A mechanical ventilator pushes airflow into the
12   patient’s lungs to help them breathe. Mechanical ventilation may be invasive ventilation with a
13   tube inserted into the patient’s airway, performed in the intensive care unit in the hospital or a
14   long-term institutional setting. Non-invasive ventilation can be used at home by people with
15   respiratory difficulties.
16                                                       V.
17                                    SUBSTANTIVE ALLEGATIONS
18             25.     Philips developed, marketed, and sold a variety of CPAP and Bi-Level PAP
19   respiratory devices and mechanical ventilators under its “Sleep & Respiratory Care” segment of
20   its business designed to assist individuals with a number of sleep, breathing, and respiratory
21   conditions, including obstructive sleep apnea, central sleep apnea, complex sleep apnea syndrome,
22   and Chronic Obstructive Pulmonary Disease (COPD), as well as to assist those individuals
23   requiring invasive and non-invasive ventilators for acute and sub-acute hospital environments.
24   Philips’ CPAP and Bi-Level PAP respirator devices and its mechanical ventilators typically cost
25   several hundred, if not thousands of dollars. Philips has sold millions of these devices in the United
26   States.
27   ///
28   ///



                                                         6
                                   Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 7 of 25




 1          A.       Philips Sleep & Respiratory Care Devices Endangered Users
 2          26.      On April 26, 2021, in its Quarterly Report for Q1 2021, Philips disclosed for the
 3   first time, under a section entitled “Regulatory Update,” that device user reports had led to a
 4   discovery that the type of PE-PUR Foam Philips used to minimize noise in several CPAP and Bi-
 5   Level PAP respirators and mechanical ventilators posed health risks to its users. Specifically,
 6   Philips disclosed that “the [PE-PUR] foam may degrade under certain circumstances, influenced
 7   by factors including use of unapproved cleaning methods, such as ozone, and certain
 8   environmental conditions involving high humidity and temperature.”
 9          27.      Seven weeks later, on June 14, 2021, Philips announced a recall of numerous
10   models of CPAP and Bi-Level PAP devices, as well as a variety of its mechanical ventilators “to
11   address identified potential health risks related to the polyester-based polyurethane (PE-PUR)
12   sound abatement foam component in these devices.” Specifically, Philips announced that it had
13   determined that the “PE-PUR foam may degrade into particles which may enter the device’s air
14   pathway and be ingested or inhaled by the user, and the foam may off-gas certain chemicals.” In
15   total, Philips announced that “[b]etween 3 million and 4 million” devices are targeted in the recall.
16          28.      The list of the devices recalled by Philips (the “Recalled Devices” or “Recalled
17   Machines”) include:
18                                    Philips CPAP and Bi-Level PAP Devices
19                             Manufactured Before April 26, 2021 Subject to Recall
20                                             Device Name/Model Type
21          •     E30 (Emergency Use Authorization) – Continuous Ventilator, Minimum Ventilatory
22                Support, Facility Use
23          •     DreamStation ASV; DreamStation ST, AVAPS; SystemOne ASV4; C Series ASV; C
24                Series S/T and AVAPS; OmniLab Advanced Plus – Continuous Ventilator, Non-life
25                Supporting
26          •     SystemOne (Q Series); DreamStation; DreamStation GO; Dorma 400; Dorma500;
27                REMStar SE Auto – Non-continuous Ventilator
28                                        Philips Mechanical Respirator Devices



                                                        7
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 8 of 25




 1                             Manufactured Before April 26, 2021 Subject to Recall
 2                                             Device Name/Model Type
 3          •     Trilogy    100    Ventilator;     Trilogy    200     Ventilator;   Garbin   Plus,   Aeris,
 4                LifeVentVentilator – Continuous Ventilator;
 5          •     A-Series BiPAP Hybrid A30; Philips A-Series BiPAP V30 Auto – Continuous
 6                Ventilator, Minimum Ventilatory Support, Facility Use
 7          •     Philips A-Series BiPAP A40; Philips A-Series BiPAP A30 – Continuous Ventilator,
 8                Non-life Supporting
 9          29.      According to Philips, the PE-PUR Foam used in Recalled Devices puts users at risk
10   of suffering from: “[i]rritation (skin, eye, and respiratory tract), inflammatory response, headache,
11   asthma, adverse effects to other organs (e.g., kidneys and liver) and toxic carcinogenic affects.”
12          30.      Philips reported to physicians that PE-PUR Foam particles “may cause irritation
13   and airway inflammation, and this may be particularly important for patients with underlying lung
14   diseases or reduced cardiopulmonary reserve.”
15          31.      Further, Philips reported that “based on lab testing and evaluations, it may be
16   possible that these potential health risks could result in a wide range of potential patient impact,
17   from transient potential injuries, symptoms and complications, as well as possibly serious injury
18   which can be life-threatening or cause permanent impairment, or require medical intervention to
19   preclude permanent impairment.”
20          32.      Philips announced that it has received reports of specific complaints from users of
21   Recalled Devices who suffered from “headache[s], upper airway irritation, cough, chest pressure
22   and sinus infection.”
23          B.       The Health Risks Associated with Use of the Recalled Devices Renders Them
24                   Worthless
25          33.      As a result of the health risks associated with the use of the Recalled Devices,
26   together with Defendants’ concealment of these risks from the date they were first reported to
27   Defendants or discovered by Defendants through April 26, 2021, the Recalled Devices have been
28   rendered completely worthless or, at the very least, have been substantially diminished in value.



                                                         8
                                   Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 9 of 25




 1          34.       The information described above, including the now-known health risks of Philips
 2   CPAP devices, Bi-Level PAP devices and mechanical ventilators, the recall, and the medical
 3   warnings and advice issued by Philips, have rendered the Recalled Devices worthless to patients
 4   with sleep apnea and respiratory conditions. Individuals not using life-supporting ventilators must
 5   immediately discontinue their user of the Recalled Devices or face serious health risks as grave as
 6   organ failure or cancer. If they choose to discontinue use of the Recalled Devices, they must pay
 7   for another expensive device in order to receive effective treatment for their sleep apnea and/or
 8   respiratory conditions. Individuals using life-supporting ventilators must seek an alternative
 9   treatment before discontinuing use of the Recalled Device.
10          35.       Recognizing this, Philips issued the following advice to patients using any of the
11   Recalled Devices:
12          •     “For patients using BiLevel PAP and CPAP devices: Discontinue use of affected
13                units and consult with physicians to determine the benefits of continuing therapy and
14                potential risks.”
15          •     “For patients using life-sustaining mechanical ventilator devices: DO NOT
16                discontinue or alter prescribed therapy, without consulting physicians to determine
17                appropriate next steps.”
18          36.       As a result of the above, Plaintiff will have to undertake considerable expense
19   replacing the Recalled Device.
20          C.        Philips Unreasonably Delayed its Recall
21          37.       At no time prior to its Regulatory Update on April 26, 2021, did Philips disclose to
22   purchasers or users of the Recalled Devices that the PE-PUR Foam contained therein may off-gas
23   or degrade upon use. Similarly, prior to the Update, Philips did not disclose any health risks
24   associated with use of the Recalled Devices.
25          38.       Defendants have not disclosed when they first discovered or received reports from
26   users of their Sleep & Respiratory Care devices “regarding the presence of black debris/particles
27   within the airpath circuit (extending from the device outlet, humidifier, tubing, and mask).”
28   ///



                                                            9
                                      Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 10 of 25




 1          39.       At a minimum, as a result of user reports, Defendants were aware of the off-gassing
 2   and degradation of the PE-PUR Foam used in the Recalled Devices at some point prior to the recall
 3   yet continued to manufacture and sell the Recalled Devices with such awareness. During this
 4   period, Defendants unreasonably and unjustly profited from the manufacture and sale of the
 5   Recalled Devices and unreasonably put users of the Recalled Devices at risk of development of
 6   serious adverse health effects, including organ failure and cancer.
 7          D.        Plaintiff MARY MOORE
 8          40.       Plaintiff MARY MOORE is a resident and citizen of Tulare County, California.
 9          41.       Plaintiff purchased a Recalled Device, a Trilogy 100 Ventilator device, prior to
10   June 14, 2021.
11          42.       The manuals accompanying Plaintiff’s device did not contain any language or
12   warnings of health risks associated with use of the device, including irritation (skin, eye, and
13   respiratory tract), inflammatory response, headache, asthma, adverse effects to other organs (e.g.,
14   kidneys and liver) and toxic carcinogenic effects. Had Defendants informed Plaintiff of these risks,
15   she would not have purchased or used the Recalled Device.
16          43.       Without knowing of the health risks associated with use of the Recalled Device,
17   Plaintiff used the Recalled Device regularly to treat her low oxygen condition until learning on or
18   about June 26, 2021 that the devices were recalled.
19          44.       As a result of the health risks associated with continued use of the Recalled Device,
20   Plaintiff was diagnosed with serious physical injuries including without limitation chronic
21   sinusitis, nasal congestion, chronic pain sinusitis, inverted papilloma, neoplastic right nasal polyp,
22   and squamous cell carcinoma.
23                                                     VI.
24                                      TOLLING AND ESTOPPEL
25          A.        Discovery Rule Tolling
26          45.       Plaintiff had no way of knowing about Defendants’ conduct with respect to the
27   health risks associated with the use of the Recalled Device.
28   ///



                                                        10
                                  Complaint for Damages and Demand for Jury Trial
                    Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 11 of 25




 1             46.      Plaintiff, through the exercise of reasonable care, could not have discovered the
 2   conduct by Defendants alleged herein. Further, Plaintiff did not discover and did not know of facts
 3   that would have caused a reasonable person to suspect that Philips was engaged in the conduct
 4   alleged herein.
 5             47.      For these, reasons, all applicable statutes of limitation have been tolled by the
 6   discovery rule with respect to claims asserted by Plaintiff.
 7             B.       Fraudulent Concealment Tolling
 8             48.      By failing to provide immediate notice of the adverse health effects associated with
 9   continued use of the Recalled Device, Philips concealed its conduct and the existence of the claims
10   asserted herein from Plaintiff.
11             49.      Upon information and belief, Philips intended its acts to conceal the facts and
12   claims from Plaintiff. Plaintiff was unaware of the facts alleged herein without any fault or lack of
13   diligence on her part and could not have reasonably discovered Defendants’ conduct. For this
14   reason, any statute of limitations that otherwise may apply to the claims of Plaintiff should be
15   tolled.
16                                                       VII.
17                                           CLAIMS FOR RELIEF
18                                        FIRST CAUSE OF ACTION
19                                                NEGLIGENCE
20             50.      Defendants had a duty to individuals, including the Plaintiff, to use reasonable care
21   in designing, manufacturing, marketing, labeling, packaging and selling the recalled machines,
22   including the Recalled Devices.
23             51.      Defendants were negligent in failing to use reasonable care as described herein in
24   designing and manufacturing, the recalled machines, as well as the machine that Plaintiff
25   purchased and used. Defendants breached their aforementioned duty by:
26             a.       Failing to design the recalled machines so as to avoid an unreasonable and increased
27                      risk of harm of cancer and other injuries in users;
28   ///



                                                          11
                                    Complaint for Damages and Demand for Jury Trial
                Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 12 of 25




 1         b.       Including in the design of the recalled machines flawed polyurethane PE-PUR
 2                  sound abatement foam that could break down, flake off and/or chemicalize and
 3                  infiltrate the device’s air pathway while the user is sleeping, exposing them to
 4                  increased and unnecessary risk of cancer as well as other injuries;
 5         c.       Manufacturing certain Philips machines, including the recalled machines, with a
 6                  specific lot and/or lots of flawed polyurethane PE-PUR sound abatement foam that
 7                  could break down, flake off and/or chemicalize and infiltrate the device’s air
 8                  pathway while the user is sleeping, exposing them to increased and unnecessary
 9                  risk of cancer as well as other injuries;
10         d.       Otherwise negligently or carelessly designing, manufacturing, marketing, labeling,
11                  packaging and/or selling the Recalled Devices.
12         52.      Defendants also negligently failed to warn or instruct the Plaintiff in the following
13   manners:
14         a.       the recalled machine’s flawed polyurethane PE-PUR sound abatement foam
15                  propensities to break down, flake off and/or chemicalize and infiltrate the device’s
16                  air pathway while the user is sleeping, exposing them to increased and unnecessary
17                  risk of cancer as well as other injuries;
18         b.       the recalled machine’s polyurethane PE-PUR sound abatement foam propensities
19                  to degradation, fragmentation and/or chemicalization;
20         c.       the rate and manner in which the polyurethane PE-PUR sound abatement foam
21                  would break down, flake off and/or chemicalize and infiltrate the device’s air
22                  pathway while the user is sleeping;
23         d.       the risk of chronic inflammation resulting from use of the recalled machines;
24         e.       the risk of chronic infections resulting from the recalled machines;
25         f.       the risk of lung, kidney, and/or rectal cancers from exposure to the foam;
26         g.       the need for corrective or revision surgery to adjust or remove cancerous tumors
27                  and/or nodules as a result of usage of the recalled machines;
28   ///



                                                       12
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 13 of 25




 1          h.       the severity of complications that could arise as a result of implantation of the
 2                   recalled machines;
 3          53.      As a direct and proximate result of Defendants’ negligence, the Plaintiff has
 4   experienced significant mental and physical pain and suffering, has sustained permanent injury,
 5   has undergone medical treatment and will likely undergo further medical treatment and
 6   procedures, has suffered financial or economic loss, including, but not limited to, obligations for
 7   medical services and expenses, lost income, and other damages.
 8          54.      WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
 9   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
10   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
11   deems equitable and just.
12                                    SECOND CAUSE OF ACTION
13                             PRODUCT LIABILITY: DESIGN DEFECT
14          55.       The recalled machine used by Plaintiff was not reasonably safe for its intended
15   uses and was defective as described herein with respect to its design. As previously stated, the
16   machine’s design defects include, but are not limited to:
17          a.       the use of polyurethane PE-PUR sound abatement foam in the recalled machines
18                   and the immune reaction that results from such material, causing adverse reactions
19                   and injuries;
20          b.       Failing to design the recalled machines so as to avoid an unreasonable and increased
21                   risk of harm of cancer and other injuries in users;
22          c.       Including in the design of the recalled machines flawed polyurethane PE-PUR
23                   sound abatement foam that could break down, flake off and/or chemicalize and
24                   infiltrate the device’s air pathway while the user is sleeping, exposing them to
25                   increased and unnecessary risk of cancer as well as other injuries;
26   ///
27   ///
28   ///



                                                       13
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 14 of 25




 1          d.       Failing to use alternatively available sound abatement materials and/or foams in the
 2                   recalled machines, such as plastic, silicone, or rubber, which would not break down,
 3                   flake off and/or chemicalize and infiltrate the device’s air pathway while the user
 4                   is sleeping;
 5          e.       Otherwise negligently or carelessly designing, manufacturing, marketing, labeling,
 6                   packaging and/or selling the recalled machines.
 7          56.       At all times, the use of the recalled machines, as well as Plaintiff’s use of the
 8   Recalled Device (and its components, such as the facemask) was at all times foreseeable and
 9   foreseen by Defendants as it was used by Plaintiff in the manner intended by Defendants.
10          57.      The recalled machine used by Plaintiff, was defective in their design in that it failed
11   to perform as safely as a reasonable consumer would expect when used in an intended or
12   reasonably foreseeable manner.
13          58.      The recalled machines, including the Recalled Device used by Plaintiff, are further
14   defective in that the risks of danger inherent in its design outweigh the benefits, in that the gravity
15   of danger posed by the design was great, the likelihood that such danger would cause injury was
16   substantial, there were feasible, safer alternative designs known to Defendants at the time of
17   manufacture, the financial costs of an improved design was minor and there were likely no adverse
18   consequences to the product, or to the user, that would result from an alternative design.
19          59.      Defendants, and each of them, knew that the recalled machines, including the
20   Plaintiff’s Recalled Device, and the component parts of these CPAP/BIPAP machines would be
21   purchased and used without inspection for defects in the design of the machine or its
22   masks/attachments.
23          60.      The recalled machines, including the Plaintiff’s Recalled Device, and the
24   component parts of these machines were defective when they left the control of each of these
25   Defendants.
26          61.      As a direct and proximate result of the recalled machines, including Plaintiff’s
27   Recalled Device, and the aforementioned defects as described herein, the Plaintiff has experienced
28   significant mental and physical pain and suffering, has sustained permanent injury, has undergone



                                                          14
                                    Complaint for Damages and Demand for Jury Trial
               Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 15 of 25




 1   medical treatment and will likely undergo future medical treatment and procedures, has suffered
 2   financial or economic loss, including, but not limited to, obligations for medical services and
 3   expenses, lost income, and other damages.
 4          62.     Defendants are strictly liable to the Plaintiff for designing, manufacturing,
 5   marketing, labeling, packaging and selling the recalled machines, including Plaintiff’s Recalled
 6   Device.
 7          63.     As a direct and proximate result of one or more of the above-stated negligent acts,
 8   Plaintiff has suffered and will continue to suffer injury of a personal and pecuniary nature,
 9   including pain and suffering, medical expenses, lost income, and disability.
10          64.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
11   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
12   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
13   deems equitable and just.
14                                    THIRD CAUSE OF ACTION
15                      PRODUCT LIABILITY: MANUACTURING DEFECT
16          65.     At all times, the use of the recalled machines, as well as Plaintiff’s use of the
17   Recalled Device (and its components, such as the facemask) was at all times foreseeable and
18   foreseen by Defendants as it was used by Plaintiff in the manner intended by Defendants.
19          66.     The recalled machines were defective at the time of their manufacture,
20   development, production, testing, inspection, endorsement, sale and distribution, and at the time
21   they left the possession of the Defendants, in that, and not by way of limitation, the products
22   differed from the Defendants’ intended result and intended design and specifications, and from
23   other ostensibly identical units of the same product line.
24          67.     Defendants, and each of them, knew or should have known of the defective nature
25   of the recalled machines, including (among other things), that the PE-PUR foam used in the
26   recalled machine’s component parts was prone to flaking, chemicalization, disintegration, that it
27   could enter the user’s airways while they slept, and created an unreasonably high risk while in use,
28   and would foreseeably result in injury or death to the public, purchasers, and/or consumers.



                                                       15
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 16 of 25




 1          68.      The Defendants, and each of them, knew or should have known of the defective
 2   nature of the recalled machines, and the component parts of these CPAP/BIPAP machines,
 3   including among other things, that the PE-PUR foam used in the recalled machine’s component
 4   parts was prone to flaking, chemicalization, disintegration, that it could enter the user’s airways
 5   while they slept, and created an unreasonably high risk while in use, and would foreseeably result
 6   in injury or death to the public, purchasers, and/or consumers.
 7          69.      Specifically, the Defendants improperly designed the recalled machines by
 8   manufacturing certain Philips machines, including the recalled machines, with a specific lot and/or
 9   lots of flawed polyurethane PE-PUR sound abatement foam that could break down, flake off and/or
10   chemicalize and infiltrate the device’s air pathway while the user is sleeping, exposing them to
11   increased and unnecessary risk of cancer, including cancer, as well as other injuries.
12          70.      As a direct and proximate result of one or more of the above-stated negligent acts,
13   Plaintiff has suffered and will continue to suffer injury of a personal and pecuniary nature,
14   including pain and suffering, medical expenses, lost income, and disability.
15          71.      WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
16   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
17   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
18   deems equitable and just.
19                                    FOURTH CAUSE OF ACTION
20                           PRODUCT LIABILITY: FAILURE TO WARN
21          72.      The recalled machines, including the Recalled Device used by Plaintiff, were not
22   reasonably safe for their intended uses and were defective as described herein as a matter of law
23   due to its lack of appropriate and necessary warnings. Specifically, Defendants did not provide
24   sufficient or adequate warnings including, but not limited to, the following:
25          a.       the recalled machine’s flawed polyurethane PE-PUR sound abatement foam
26                   propensities to break down, flake off and/or chemicalize and infiltrate the device’s
27                   air pathway while the user is sleeping, exposing them to increased and unnecessary
28                   risk of cancer, including cancer, as well as other injuries;



                                                        16
                                  Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 17 of 25




 1          b.       the recalled machine’s polyurethane PE-PUR sound abatement foam propensities
 2                   to degradation, fragmentation and/or chemicalization;
 3          c.       the rate and manner in which the polyurethane PE-PUR sound abatement foam
 4                   would break down, flake off and/or chemicalize and infiltrate the device’s air
 5                   pathway while the user is sleeping;
 6          d.       the risk of chronic inflammation resulting from use of the recalled machines;
 7          e.       the risk of chronic infections resulting from the recalled machines;
 8          f.       the risk of lung, kidney, and/or rectal cancers from exposure to the foam;
 9          g.       the need for corrective or revision surgery to adjust or remove cancerous tumors
10                   and/or nodules as a result of usage of the recalled machines;
11          h.       the severity of complications that could arise as a result of implantation of the
12                   recalled machines;
13          73.      As a direct and proximate result of the recalled machine’s aforementioned defects
14   as described herein, the Plaintiff has experienced significant mental and physical pain and
15   suffering, has sustained permanent injury, has undergone medical treatment and will likely
16   undergo further medical treatment and procedures, has suffered financial or economic loss,
17   including, but not limited to, obligations for medical services and expenses, and/or lost income,
18   and other damages.
19          74.      Defendants are strictly liable to the Plaintiff for designing, manufacturing,
20   marketing, labeling, packaging and selling a defective device.
21          75.      WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
22   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
23   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
24   deems equitable and just.
25   ///
26   ///
27   ///
28   ///



                                                       17
                                 Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 18 of 25




 1                                       FIFTH CAUSE OF ACTION
 2                                 BREACH OF EXPRESS WARRANTY
 3          76.        Philips marketed and sold the Recalled Device into the stream of commerce with
 4   the intent that the Recalled Device would be purchased by Plaintiff and other members of the
 5   general public.
 6          77.        Philips expressly warranted, advertised, and represented to Plaintiff that the
 7   Recalled Device was safe and appropriate for human use.
 8          78.        Philips made these express warranties regarding the Recalled Device’s quality and
 9   fitness for use in writing through its website, advertisements, and marketing materials, and on the
10   Recalled Device’s packaging and labels. These express warranties became part of the basis of the
11   bargain that Plaintiff entered into upon purchasing the Recalled Device.
12          79.        Philips’ advertisements, warranties, representations, and omissions regarding
13   health risks associated with the Recalled Device, were made in connection with the sale of the
14   Recalled Device to Plaintiff. Plaintiff relied on Philips’ advertisements, warranties,
15   representations, and omissions regarding the Recalled Device in deciding whether to purchase and
16   use Philips’ Recalled Device.
17          80.        The recalled machines, including the Recalled Device used by Plaintiff, did not
18   conform to Philips’ advertisements, warranties, representations, and omissions in that they are not
19   safe, healthy, and appropriate for human use, and pose risks of serious injury and disease, including
20   organ failure and cancer.
21          81.        Philips therefore breached its express warranties by placing the recalled machines,
22   including the machine used by Plaintiff, into the stream of commerce and selling it to consumers,
23   when their use posed health risks, had dangerous effects and were unsafe, rendering these products
24   unfit for their intended use and purpose, and unsafe and unsuitable for consumer use as marketed
25   by Philips. These associated health effects substantially impair the use, value, and safety of the
26   Recalled machines, and rendered the machines worthless.
27          82.        Philips was aware, or should have been aware, of the toxic or dangerous health
28   effects from the use of the recalled machines, including the machine used by Plaintiff, but nowhere



                                                         18
                                   Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 19 of 25




 1   on the package labeling or package inserts or on Philips’ websites or other marketing materials did
 2   Philips warn Plaintiff she was at risk of developing adverse health effects as a result of the
 3   dangerous PE-PUR Foam used in the recalled machines
 4          83.     Instead, Philips concealed the dangerous health effects of the PE-PUR Foam used
 5   in the recalled machines, including the machine used by Plaintiff and deceptively represented that
 6   these products were safe, healthy, and appropriate for use. Philips thus utterly failed to ensure that
 7   the material representations they were making to consumers were true.
 8          84.     The adverse health effects associated with use of the recalled machines, including
 9   the machine used by Plaintiff existed when they left Philips’ possession or control and were sold
10   to Plaintiff. The dangers associated with use of the recalled machines were undiscoverable by
11   Plaintiff at the time of purchase of the Recalled Device.
12          85.     As manufacturers, marketers, advertisers, distributors and sellers of the Recalled
13   Devices, Philips had exclusive knowledge and notice of the fact that the Recalled Devices did not
14   conform to the affirmations of fact and promises.
15          86.     In addition, or in the alternative, to the formation of an express contract, Philips
16   made each of the above-described representations and omissions to induce Plaintiff to rely on such
17   representations and omissions.
18          87.     Philips’ affirmations of fact and promises and its omissions were material, and
19   Plaintiff reasonably relied upon such representations and omissions in purchasing and using the
20   Recalled Device.
21          88.     All conditions precedent to Philips’ liability for its breach of express warranty have
22   been performed by Plaintiff.
23          89.     Affording Philips an opportunity to cure its breaches of written warranties would
24   be unnecessary and futile here. Philips was placed on reasonable notice from user reports and its
25   lab testing that the PE-PUR Foam in the Recalled Devices, including the machine used by Plaintiff
26   was unsafe. Philips had ample opportunity either to stop using the PEPUR Foam or to replace the
27   PE-PUR Foam in the Recalled Devices to make them safe and healthy for use by Plaintiff but
28   failed to do so until now.



                                                        19
                                  Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 20 of 25




 1          90.     As a direct and proximate result of the recalled machines, including the machine’s
 2   aforementioned defects as described herein, the Plaintiff has experienced significant mental and
 3   physical pain and suffering, has sustained permanent injury, has undergone medical treatment and
 4   will likely undergo further medical treatment and procedures, has suffered financial or economic
 5   loss, including, but not limited to, obligations for medical services and expenses, and/or lost
 6   income, and other damages.
 7          91.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
 8   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
 9   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
10   deems equitable and just.
11                                     SIXTH CAUSE OF ACTION
12                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
13          92.      Philips are merchants engaging in the sale of goods to Plaintiff and members of
14   the general public.
15          93.     There was a direct sale of goods from Philips to Plaintiff, creating privity between
16   Plaintiff and Defendants.
17          94.     At all times mentioned herein, Philips manufactured or supplied the recalled
18   machines, including the machine used by Plaintiff, and prior to the time of use, Philips impliedly
19   warranted to Plaintiff that the Recalled Devices, including the machine used by Plaintiff was of
20   merchantable quality, fit for their ordinary use, and conformed to the promises and affirmations of
21   fact and omissions made on the labels and packaging, including that the machines were safe and
22   appropriate for human use. Plaintiff relied on Philips’ promises and affirmations of fact and
23   omissions when she purchased and used the Recalled Device.
24          95.     Contrary to these representations and warranties, the Recalled Devices, including
25   the machine used by Plaintiff was not fit for its ordinary use and did not conform to Philips’
26   affirmations of fact and promises and omissions because use of the Recalled Devices is
27   accompanied by the risk of adverse health effects, which does not conform to the labels and
28   packaging of these devices.



                                                       20
                                 Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 21 of 25




 1           96.     Philips breached its implied warranties by selling a Recalled Device, including the
 2   machine used by Plaintiff that failed to conform to the promises or affirmations of fact made on
 3   the packaging or label, as use of each Recalled Device was accompanied by the risk of developing
 4   adverse health effects that do not conform to the packaging or label.
 5           97.     Philips was on notice of this breach, as it was made aware of the adverse health
 6   effects accompanying use of the Recalled Devices through user reports submitted to Philips and
 7   through lab testing.
 8           98.     Privity exists because Philips impliedly warranted to Plaintiff through the
 9   warranting, packaging, advertising, marketing, and labeling that the Recalled Devices were
10   natural, and suitable for use to treat health conditions, and made no mention of the attendant health
11   risks associated with use of the Recalled Devices.
12           99.     As a direct and proximate result of the Recalled Devices, including the
13   aforementioned defects as described herein, the Plaintiff has experienced significant mental and
14   physical pain and suffering, has sustained permanent injury, has undergone medical treatment and
15   will likely undergo further medical treatment and procedures, has suffered financial or economic
16   loss, including, but not limited to, obligations for medical services and expenses, and/or lost
17   income, and other damages.
18           100.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
19   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
20   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
21   deems equitable and just.
22                                   SEVENTH CAUSE OF ACTION
23                               FRAUDULENT MISREPRESENTATION
24           101.    Philips failed to advise Plaintiff that the Recalled Devices, including the machine
25   used by Plaintiff posed serious health risks to their users and Philips falsely represented to Plaintiff
26   that the Recalled Devices were safe for human use.
27   ///
28   ///



                                                        21
                                  Complaint for Damages and Demand for Jury Trial
              Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 22 of 25




 1          102.    Philips intentionally, knowingly, and recklessly made these misrepresentations and
 2   omissions to induce Plaintiff and other members of the general public to purchase the Recalled
 3   Devices, including the machine used by Plaintiff.
 4          103.    Philips knew that its representations and omissions about the Recalled Devices,
 5   including the machine used by Plaintiff, were false in that the Recalled Devices contained PE-PUR
 6   Foam and thus were at risk of causing adverse health effects to users of the Recalled Devices which
 7   does not conform to the products’ labels, packaging, advertising, and statements. Philips
 8   knowingly allowed its packaging, labels, advertisements, promotional materials, and websites to
 9   intentionally mislead consumers, such as Plaintiff.
10          104.    Plaintiff did in fact rely on these omissions and misrepresentations and purchased
11   and used a Recalled Device to her detriment. Given the deceptive manner in which Philips
12   advertised, represented, and otherwise promoted the Recalled Devices, Plaintiff’s reliance on
13   Philips’ omissions and misrepresentations was justifiable.
14          105.    As a direct and proximate result of the recalled machines, including the machine’s
15   aforementioned defects as described herein, the Plaintiff has experienced significant mental and
16   physical pain and suffering, has sustained permanent injury, has undergone medical treatment and
17   will likely undergo further medical treatment and procedures, has suffered financial or economic
18   loss, including, but not limited to, obligations for medical services and expenses, and/or lost
19   income, and other damages.
20          106.    WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
21   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
22   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
23   deems equitable and just.
24                                   EIGHTH CAUSE OF ACTION
25                                        FRAUD BY OMISSION
26          107.    Philips concealed from and failed to disclose to Plaintiff that use of Recalled
27   Devices, including the machine used by Plaintiff is accompanied by a risk of adverse health effects,
28   which does not conform to the products’ labels, packaging, advertising, and statements.



                                                       22
                                 Complaint for Damages and Demand for Jury Trial
                 Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 23 of 25




 1          108.     Philips was under a duty to disclose to Plaintiff the true quality, characteristics,
 2   ingredients and suitability of the Recalled Devices, including the machine used by Plaintiff
 3   because:
 4          a.       Philips was in a superior position to know the true state of facts about its products;
 5          b.       Philips was in a superior position to know the risks associated with the use of,
 6                   characteristics of, and suitability of the Recalled Devices; and
 7          c.       Philips knew that Plaintiff could not reasonably have been expected to learn or
 8                   discover prior to purchasing the Recalled Device that there were misrepresentations
 9                   and omissions by Philips in the packaging, labels, advertising, and websites
10                   regarding the health risks associated with use of these devices.
11          109.     The facts concealed or not disclosed by Philips to Plaintiff were material in that a
12   reasonable consumer would have considered them important when deciding whether to purchase
13   the Recalled Device.
14          110.     Plaintiff justifiably relied on Philips’ omissions to her detriment. The detriment is
15   evident from the true quality, characteristics, and risk associated with the use of the Recalled
16   Devices, including the machine used by Plaintiff, which is inferior when compared to how the
17   Recalled Devices are advertised and represented by Philips.
18          111.     As a direct and proximate result of the Recalled Devices, including the machine’s
19   aforementioned defects as described herein, the Plaintiff has experienced significant mental and
20   physical pain and suffering, has sustained permanent injury, has undergone medical treatment and
21   will likely undergo further medical treatment and procedures, has suffered financial or economic
22   loss, including, but not limited to, obligations for medical services and expenses, and/or lost
23   income, and other damages.
24          112.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
25   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
26   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
27   deems equitable and just.
28   ///



                                                       23
                                 Complaint for Damages and Demand for Jury Trial
                  Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 24 of 25




 1                                     NINTH CAUSE OF ACTION
 2                               NEGLIGENT MISREPRESENTATION
 3           113.     Philips had a duty to Plaintiff to exercise reasonable and ordinary care in the
 4   developing, testing, manufacture, marketing, distribution, and sale of the Recalled Devices,
 5   including the machine used by Plaintiff.
 6           114.     Philips breached its duty to Plaintiff by developing, testing, manufacturing,
 7   advertising, marketing, distributing, and selling products to Plaintiff that did not have the qualities,
 8   characteristics, and suitability for use as advertised by Philips and by failing to promptly remove
 9   the Recalled Devices, including the machine used by Plaintiff from the marketplace or to take
10   other appropriate remedial action upon becoming aware of the health risks of the Recalled Devices.
11           115.     Philips knew or should have known that the qualities and characteristics of the
12   Recalled Devices, including the machine used by Plaintiff were not as advertised or suitable for
13   their intended use and were otherwise not as warranted and represented by Philips. Specifically,
14   Philips knew or should have known that:
15           a.       the use of the Recalled Devices was accompanied by risks of adverse health effects
16                    that do not conform to the packaging and labeling;
17           b.       the Recalled Devices were adulterated, or at risk of being adulterated, by the PE-
18                    PUR Foam; and
19           c.       the Recalled Devices were otherwise not as warranted and represented by Philips.
20           116.      As a direct and proximate result of Defendants’ negligence, the Plaintiff has
21   experienced significant mental and physical pain and suffering, has sustained permanent injury,
22   has undergone medical treatment and will likely undergo further medical treatment and
23   procedures, has suffered financial or economic loss, including, but not limited to, obligations for
24   medical services and expenses, lost income, and other damages.
25           117.     WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,
26   individually, jointly, severally and in the alternative, and requests compensatory damages, punitive
27   damages, together with interest, costs of suit, attorneys’ fees, and such further relief as the Court
28   deems equitable and just.



                                                        24
                                  Complaint for Damages and Demand for Jury Trial
Case 2:23-cv-00091-JFC Document 1 Filed 12/29/22 Page 25 of 25
